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                            UNITED STATES DISTRICT COURT
                            FOR THE DISTRICT OF COLUMBIA



 FEDERAL TRADE COMMISSION,

         Plaintiff,
                v.                                          Civil Action No. 20-3590 (JEB)
 META PLATFORMS, INC.,

         Defendant.


                          MEMORANDUM OPINION AND ORDER

       The Federal Trade Commission alleges in this antitrust action that Meta Platforms, Inc.

has unlawfully maintained a monopoly over the market for “Personal Social Network Services”

by acquiring competitors and potential competitors, specifically Instagram and WhatsApp. This

Court’s decisions on Meta’s earlier motions to dismiss fully explain the nature of the case. Fed.

Trade Comm’n v. Facebook, Inc., 560 F. Supp. 3d 1 (D.D.C. 2021) (granting dismissal with

leave to amend); Fed. Trade Comm’n v. Facebook, Inc., 581 F. Supp. 3d 34 (D.D.C. 2022)

(denying dismissal).

       Now before the Court is Meta’s Motion to Compel the FTC to answer one of its March

2022 interrogatories. See ECF No. 254 (Motion to Compel). As background, Interrogatory

No. 1 requested the FTC to identify “all Persons [it had] communicated with relating to” three

prior investigations: (a) its 2012 investigation arising from Meta’s pre-merger notification of its

intended acquisition of Instagram, (b) its 2014 investigation of Meta’s pre-merger notification of

its intended acquisition of WhatsApp, and (c) its investigatory activities preceding the filing of

this action. Id. (emphasis added); ECF No. 254-3, Exh. A (FTC’s Suppl. Objs. & Resp. to



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Meta’s First Set of Interrogs. Nos. 1-2) at 11. Meta does not dispute that the FTC adequately

responded to this Interrogatory.

       Interrogatory No. 2, however, goes further — it requests that the FTC “identify all

Communications between [it] and any other Person relating to” any of the three prior

investigations. See FTC’s Suppl. Objs. & Resp. to Meta’s First Set of Interrogs. Nos. 1-2 at 11

(emphasis added). This is the Interrogatory that Meta moves to compel an answer to, although it

has apparently limited its Motion to records from the Instagram and WhatsApp investigations.

See Motion to Compel at 15 (asking this Court to “order the FTC promptly to provide a complete

answer to Interrogatory No. 2 . . . regarding the Instagram and WhatsApp acquisitions”).

Instruction No. 13, moreover, directs that in responding to Interrogatory No. 2, the FTC shall

provide a variety of background data and “a description of the facts conveyed in the . . .

Communication to the extent they are not memorialized in a Document produced in this Action.”

Id. at 3; FTC’s Suppl. Objs. & Resp. to Meta’s First Set of Interrogs. Nos. 1-2 at 1.

       The FTC has objected to Interrogatory No. 2 on the ground that it violates ¶ 16 of the

Joint Scheduling Order entered by this Court in March 2022, which provides:

               [T]he following privileged or otherwise protected communications
               shall not be the subject of discovery, need not be preserved, and need
               not be placed on a privilege log: emails, notes, drafts,
               communications, memoranda, documents, or other product
               produced by or exchanged solely among and between . . . counsel
               for the Federal Trade Commission (or persons employed by the
               Federal Trade Commission) . . . .

ECF No. 103 (JSO), ¶ 16 (emphasis added).

       The parties discussed this subject in the course of discovery conferences, during which

the FTC explained that it did “not possess any transcripts of, or memoranda memorializing, any

third-party interviews conducted during” the Instagram and WhatsApp investigations. See ECF



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No. 259-3, Exh. 2 (Letter from FTC to Kevin Huff) at 3. The only records the FTC possessed of

such communications were “scanned copies of handwritten attorney notes concerning certain

third-party interviews conducted during the Instagram investigation.” Id. at 4. In the FTC’s

view, JSO ¶ 16 effects a waiver of any right Meta has to make the handwritten notes a subject of

discovery, and it thus refused to further answer Interrogatory No. 2 on that basis. The FTC also

objected to disclosing the substance of third-party interviews on the ground that such information

was protected by the work-product doctrine and deliberative-process privilege. As the Court

believes that JSO ¶ 16 affords a complete ground for denying Meta’s Motion, it need not address

the other privilege questions.

          The relevant JSO provision excludes from “the subject of discovery” any “notes” that

may contain otherwise relevant information that were “produced by . . . counsel for the [FTC] (or

persons employed by the [FTC]).” JSO, ¶ 16. While it is clear that Interrogatory No. 2 seeks the

“sum and substance” of the interview “notes” drafted by FTC counsel, see FTC’s Suppl. Objs. &

Resp. to Meta’s First Set of Interrogs. Nos. 1-2 at 13, Meta goes to great lengths to argue the

contrary. It asserts that it is not the notes that it wants, but rather only the facts stated in the

notes. See Motion to Compel at 1 (mentioning word “facts” eleven times in introduction to

Motion). Yet this appears too clever by half. Meta wants the contents of the notes, but not the

notes themselves. If such a position does not violate the letter of the JSO, it plainly violates its

spirit.

          This is particularly true given that JSO ¶ 16 precludes the notes from being “the subject

of discovery.” Had Meta posed a simpler interrogatory to the FTC — viz., state everything in the

notes relevant to the issues in this case — the answer would clearly be barred by JSO ¶ 16. In

the context of the discovery in this case, Interrogatory No. 2 as drafted attempts to achieve the



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same goal of forcing the FTC to disclose information that Meta agreed in JSO ¶ 16 would be

exempt.

       Exempting these notes from discovery also accords with the plain language of the parties’

agreement; remember, JSO ¶ 16 was drafted by their counsel and jointly proposed for adoption

by the Court. If JSO ¶ 16 was designed solely to relieve the parties of their obligations to

include arguably protected documents on their privilege logs (as Meta seems to argue,

contending that ¶ 16 is a mere “exemption from privilege logging,” ECF No. 262 (Reply) at 5),

the lead paragraph would not have needed the key phrase “shall not be the subject of discovery.”

The Court cannot read the “subject of discovery” phrase out of JSO ¶ 16 as mere surplusage.

See Antonin Scalia & Bryan A. Garner, Reading Law: The Interpretation of Legal Texts § 26

(1st ed. 2012) (discussing the “surplusage canon” of construction, which provides that “[i]f

possible, every word and every provision is to be given effect . . . . None should be ignored.

None should be given an interpretation that causes it . . . to have no consequence.”).

       The Court’s conclusion in this regard is fortified by comparing JSO ¶ 16 with ¶ 18,

regarding discovery of expert materials. As with ¶ 16, the parties proposed identical versions of

what eventually became ¶ 18:

       Expert Witness Disclosures – Materials Protected from Disclosure. The
       following information, documents, and materials are not discoverable, and
       need not be preserved or disclosed for purposes of complying with Federal
       Rule of Civil Procedure 26(a)(2), 26(b)(4) . . . unless such materials provide
       the only record of a fact or assumption . . . . that the expert relied on in
       forming the opinions to be expressed . . . .

ECF No. 100-1 (FTC Proposed JSO), ¶ 23; ECF No. 100-2 (Meta Proposed JSO), ¶ 21; see also

JSO, ¶ 18. Whereas the language of JSO ¶ 16 exempts certain materials broadly from being the

“subject of discovery” — a prohibition that would include not only requests for the specific

materials themselves but also questions related to those materials and their contents — ¶ 18

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merely outlines certain “information, documents, and materials” that are specifically “not

discoverable.” Paragraph 18 also demonstrates that the parties anticipated that there could be

situations in which documents they desired to keep confidential could be (as with the FTC’s

interview notes) the “only record” of such information and devised a means of dealing with that

situation. The omission of a parallel provision in ¶ 16 is therefore instructive.

       Meta also argues that the Instagram and WhatsApp investigative notes are not protected

by JSO ¶ 16 because that provision “applies only to documents prepared since the

commencement of the present litigation.” Motion to Compel at 15. But JSO ¶ 16 has no

language limiting its scope in this way, and the Court is reluctant to adopt such a cabined reading

of that provision.

       Meta also explains that documents, data, and witness memories have been lost in the

decade since the Instagram and WhatsApp investigations; as a result, it believes that the Court’s

interpretation of the meaning and scope of JSO ¶ 16 is “unfair” to Meta. See Reply at 4–5.

Nothing Meta has presented shows that what has been lost to time is unique or irreplaceable,

much less admissible, given that any answer the FTC would provide on this Interrogatory would

be purely hearsay. Meta’s counsel also likely created their own notes in the course of preparing

Meta employees for FTC interviews, which notes would have contained “facts” that Meta

believed were privileged from production by the attorney-client privilege or the work-product

doctrine. JSO ¶ 16 enabled Meta to avoid having to scour its privileged materials for “facts” that

otherwise would be responsive to the FTC’s interrogatories, such as Interrogatory Nos. 10-12

relating to “procompetitive benefits” of its acquisitions. See ECF No. 267 (FTC Motion to

Compel) at 2.




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        Last, Meta argues that “good cause exists to modify [JSO ¶ 16] to require the FTC to

answer Interrogatory No. 2.” Motion to Compel at 15. But, as the FTC points out, see ECF No.

260 (Opp.) at 5, Meta has not made such a motion, nor has it sought to meet and confer on the

topic of JSO modification (as required). Indeed, since May 2022, Meta has delayed the process

of bringing this precise question to the Court for resolution by objecting to its inclusion in the

parties’ routine Joint Status Reports. Id. at 6. In this context, and with little time left for merits

discovery, the Court does not discern “good cause” for modifying JSO ¶ 16.

        The Court accordingly ORDERS that the Motion to Compel is DENIED.



                                                                /s/ James E. Boasberg
                                                                JAMES E. BOASBERG
                                                                Chief Judge
Date: April 12, 2023




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